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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

 JOHN STILES,                                             )
                                                          )
                     Plaintiff,                           )
                                                            Case No.: 1:21-cv-00497-MSM-LDA
            vs.                                           )
                                                          )
 BROWN UNIVERSITY,                                        )
                     Defendant.                           )
                                                          )

                             MEMORANDUM IN SUPPORT OF
               JOHN STILES’ EMERGENCY MOTION FOR INJUNCTIVE RELIEF

            Plaintiff John Stiles (“John”) requests a temporary restraining order and preliminary

 injunctive relief against Defendant Brown University (“Brown”) on the basis that his contract with

 Brown gives him procedural and substantive rights to participate in all academic and

 extracurricular activities. However, Brown has summarily removed John from campus and

 suspended him pending resolution of a Title IX complaint solely on the basis of the allegations

 and before Brown has conducted any investigation of the complaint. This irregular and precipitous

 action has caused imminent irreparable harm to John’s education and professional career goals, as

 well as emotional and reputational harm for which no adequate legal remedy exists.

                                          FACTUAL BACKGROUND

            John is a senior at Brown, a member of the Lacrosse team, and the accused in a pending

 Title IX complaint. (Para. 1).1 On November 18, 2021, Jane Roe, a female freshman at Brown,

 filed a Title IX complaint against John “with the express purpose to have [John] expelled from

 Brown without conferral of his bachelor’s degree.” (Para. 9). The following day, Brown

 suspended John. (Para. 10). On November 30, 2021, John appealed his interim suspension to Vice

 President Eric Estes. (Para. 11). In conjunction with his appeal, John also submitted his response



 1
     All paragraph references herein are to John’s Verified Complaint filed on December 17, 2021 (ECF #1).
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 to the Title IX complaint to Mr. Estes. (Para. 12). On December 6, 2021, Mr. Estes partially

 granted John’s appeal by allowing him to complete the current semester remotely and remanded

 the question of John’s suspension for the Spring semester to Brown’s threat assessment team for

 renewed consideration based on John’s response to the Title IX complaint. (Para. 13). On

 December 10, 2021, the threat assessment team affirmed their conclusion that John’s “Prohibited

 conduct was likely to continue” as well as Mr. Estes’ decision that John should be suspended

 beginning on January 7, 2022, pending an investigation and resolution of the Title IX complaint.

 (Para. 14).

        The basis of Jane’s Title IX compliant was a sexual encounter on October 30, 2021.

 (Paras. 26, 35). This was not the first intimate encounter between John and Jane. (Paras. 17, 22).

 They met at an off-campus party on October 16, 2021. (Para. 17). Although John and Jane were

 unacquainted, Jane took the time to seek John out at the party and talk to him. (Para. 18). Initially,

 John tried to get Jane to talk to his friend as his friend had expressed interest in Jane and the two

 had talked before. (Para. 19). But, Jane continued to talk and direct her attention to John.

 (Para. 19). Toward the end of the party, John and Jane left the party together and went to John’s

 house. (Para. 20).

        At John’s house, John and Jane had active, consensual sex and Jane spent the night with

 John. (Para. 22). The following morning, John and Jane tried to have sex again, but Jane said that

 she was too sore and therefore suggested maybe later that day or that night. (Para. 23). John

 respected Jane’s decision. (Para. 23). Later in the day, Jane told John she was still feeling sore.

 (Para. 24). John again accepted Jane’s decision without question, and the two did not meet up

 again that day and instead mutually continued to see if there were other times through the week to

 meet up. (Para. 25).



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        Approximately two weeks later, on October 30, 2021, John and Jane saw each other at

 another off-campus party. (Paras. 25-26). Jane told her friend that she would “only go home if

 it’s with [John].” (Para. 26). John and Jane talked like they had two weeks prior, and eventually,

 John asked Jane if she wanted to leave. (Para. 27). Jane agreed. (Para. 27). At John’s house, the

 two went into John’s room. (Para. 29). There, they continued talking and eventually began

 kissing, touching, and undressing. (Para. 29). The kissing and touching progressed to fellatio.

 (Para. 30).

        When Jane stopped performing oral sex, John asked if Jane wanted to have intercourse.

 (Para. 32). Jane said yes. (Para. 32). Before intercourse began, John got up from the bed, went

 over to a shelf to retrieve a condom and put it on. (Para. 33). Jane waited on the bed. (Para. 33).

 After John put on the condom, he asked Jane if she wanted him to use lube. (Para. 34). Jane said

 yes. (Para. 34). So, John retrieved the lube from the shelf and proceeded to put it on his penis and

 Jane’s vagina. (Para. 34). The couple started out in missionary position and then changed

 positions a few times until they ended up on the edge of John’s bed with Jane in control on top of

 John. (Para. 36). Jane got on top of John on her own volition because John could not just pick her

 up and place her there. (Para. 37). After some time, John wrapped Jane’s legs around him as she

 wrapped her arms around John’s neck so the couple could continue intercourse in a standing

 position. (Para. 39). On and off throughout the encounter, John and Jane kissed. (Para. 38). Then,

 at some point while standing, John felt a burst of liquid from Jane. (Para. 41). Something similar

 had happened the first time he and Jane had sex. (Para. 41). Jane did not say anything about it,

 and the two continued having sex. (Para. 41).

        After John sat back down on the edge of the bed, face to face with Jane on top of him, he

 realized that the consistency and volume of liquid that he felt running down his thighs was not

 normal. (Para. 42). So, he said “hold on” and asked Jane to get off. (Para. 42). John did not

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 ejaculate during intercourse but stopped because he felt something was wrong. (Para. 43). John

 helped Jane off of him and went to turn on the light. (Para. 44). When he did, the couple saw a

 significant amount of blood. (Para. 44). The amount of blood took John aback and he was unsure

 what to make of it – Jane seemed physically okay despite the blood. (Paras. 46-47). Until John

 turned on the lights, she appeared to be enjoying the sex. (Para. 47).

        John thought Jane’s failure to mention her bleeding was bizarre and asked how this

 happened. (Para. 48). In response, Jane said maybe there was blood because she was still on her

 period as of the day before. (Para. 48). That Jane might have chosen to have sex without telling

 him she had just finished her period disturbed John. (Para. 49). He asked Jane why she did not

 tell him. (Para. 49). Jane responded by asking why she should tell John that. (Para. 49). To John,

 the answer was obvious. (Para. 49). Period sex can be bloody and messy, and in fact, John’s

 bedding was ruined. (Para. 49). John and Jane continued to argue about whether Jane should have

 told John she just ended her period. (Para. 50). John disagreed with Jane’s view that it was none

 of his business. (Para. 50). He blamed Jane for the incident and said the bloody mess was

 disgusting. (Para. 50). Jane understood John to say that she was disgusting. (Para. 51). After

 that, John left the room to get cleaning supplies. (Para. 52). Meanwhile, Jane waited in John’s

 room for him to return. (Para. 52).

        When John got back, he told Jane she should shower due to the blood. (Para. 53). Initially,

 John gave Jane time alone in the bathroom. (Para. 54). A few minutes later, he entered the shower

 with Jane, as the two had showered together after the first time they had sex. (Para. 54). In the

 shower, the tension between John and Jane persisted. (Para. 55). They continued to argue about

 whether it was okay to have sex so soon after Jane’s period without her first mentioning that detail.

 (Para. 55). John and Jane did not argue the whole time in the shower, but the situation was

 uncomfortable, and John tried to make lighthearted comments and laugh at the absurdity of the

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 situation. (Para. 56). Jane seemed receptive. (Para. 56). Before exiting the shower, John noticed

 that Jane was still bleeding and that the blood did not look like period blood. (Para. 57). He

 mentioned this to Jane and told her she should get checked out. (Para. 57). Jane, however, did not

 appear to be in pain or say she was. (Para. 57).

        After the shower, John and Jane returned to John’s room, cleaned up the blood, and John

 stripped the sheets and blanket from the bed. (Para. 58). Due to the amount of blood, John threw

 the bedding out the window into a dumpster directly below. (Para. 58). John was irritated that his

 bed now had no blanket or sheets. (Para. 59). Jane then asked John if she could borrow a pair of

 his shorts. (Para. 59). John replied that most of his shorts were dirty, and thinking it reasonable

 for Jane to go home in the same clothes she arrived in, he told her the ones he had he needed to

 keep. (Para. 60). Then, around 3:00 AM, John walked Jane back to her dorm, which was a good

 distance away. (Para. 63). As John and Jane walked, they chatted relatively amicably. (Para. 64).

 They talked about John’s post-graduation plans and, as they neared Jane’s dorm, Jane told John

 that he should try to respond differently in the future in the event of unexpected bleeding during

 sex. (Para. 64). John agreed. (Para. 64).

        The next morning, Jane sent John a text message saying she had a cut inside her vagina.

 (Para. 65). John responded that he hoped she was okay. (Para. 65). That afternoon, Jane had

 lunch with some of her teammates. (Para. 66). She told them about the bleeding during intercourse

 but made no accusations against John. (Para. 66). Later that night, Jane sent John the following

 message:

        You fucking asshole. Humiliated me, made me feel like shit, made me think it was
        my fault . . . and turns out it had NOTHING to do w my period thank you. you
        fucking cut me. went to the doctor. and then on top of that, you made me wear my
        own damn shorts back home which hurt like hell bc “i was too ‘disgusting’ to wear
        anything of yours.” Fuck you.



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 (Para. 67). Jane’s representation in her message that she had already seen a doctor was not true.

 (Para. 68). Though Jane was plainly angry at John for a lot of things and listed them, from how

 he made her feel down to his not lending her his shorts, she made no mention of rape or assault.

 (Para. 69). Upon receiving Jane’s message, John replied multiple times in short succession

 because he felt bad about his response to the situation and wanted Jane to know that. (Para. 70).

 John wrote:

        I am sorry. I knew it wasn’t your period and I said I believe you were cut. But yes I am
        sorry. I was an asshole

        Truly sorry

        Please open this so I know you got it. Again, I’m sorry.

 (Para. 70). That was last time John ever heard from or contacted Jane. (Para. 70). It was October

 30, 2021. (Para. 70).

        A few days later, Wednesday, November 3, 2021, was Jane’s ROTC day, which meant she

 needed to wear her military uniform. (Para. 71). However, due to Jane’s discomfort, she could

 not put the uniform on. (Para. 71). With the help of a fellow ROTC friend, Jane obtained

 permission to wear sweatpants. (Para. 71). Later that day, the same friend asked Jane if she had

 been sexually assaulted. (Para. 72). In response, Jane claims that she broke out in tears. (Para. 72).

        The next day, November 4, 2021, the ROTC friend approached Jane again and asked her

 to talk to her mother on the telephone. (Para. 73). The friend’s mother was a nurse and, together,

 the friend and her mother “convinced” Jane to go to the health care center because she was still

 bleeding. (Para. 73). According to Jane, the doctor at the health care center told her that she had

 tearing, bruising, and swelling, and that if she wanted she could go to the emergency room for a

 SANE (sexual assault nurse examiner) exam. (Para. 74). Jane declined, but later the same day,

 she accused John of sexual assault for the first time before her coaches and trainer. (Para. 75).

 They, in turn, filed a Title IX report. (Para. 75).
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        Two weeks after her coaches filed their Title IX report, Jane filed her complaint. (Para. 76).

 In it, she claimed that John committed “sexual assault in the first degree (rape)” against her and

 stated it was her “express purpose to have the Respondent [John] expelled from Brown without

 conferral of his bachelor’s degree.” (Paras. 77-78). Jane alleged that John demanded oral sex until

 she obliged, and then forcefully penetrated her throat and would not let her go. (Para. 79. Jane

 further claimed:

        He then flipped me over to penetrate me vaginally with his penis. I was tense, rigid,
        and not in a state of arousal. The forceful penetration hurt instantaneously. I explicitly
        said to him “Please stop.” He willfully ignored me and continued to rape me.

 (Para. 80). She made no mention of John’s asking if she wanted to have sex, retrieving a condom

 and lube, or their multiple sex positions. (Para. 81). Instead, she claimed that she was “fearing

 for [her] life” and “had no choice but to wait out the assault.” (Para. 81). After John and Jane

 discovered the blood, Jane claimed that John was “raging,” that he might have pushed her

 forcefully into the wall but could not remember for sure, and that she was “so scared [she] was

 shaking,” realized she was “not safe at all” and “needed to find a way to get out.” (Para. 82).

 Nonetheless, John left her alone twice and, in both instances, Jane chose to stay, take a shower,

 help John clean up, and ask him for a pair of shorts before walking home with him. (Para. 82).

        As for John’s recollection, he did not hear Jane say “please stop” at any point. (Para. 83).

 He heard her make small comments of “yes” and “keep going,” but did not hear any “please stop.”

 (Para. 83). If she had said “please stop,” John would have heard it, and he was fully in control of

 himself and able to stop before ejaculation, as he eventually did once he suspected something was

 amiss. (Para. 83).

        The day after Jane filed her complaint, Brown summarily suspended John on November

 19, 2021. (Para. 85). Though Brown never misses an opportunity to tell John that it “remains

 committed to supporting you,” in reality, it has done little to help him. (Para. 84). Because John

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 was suspended, he could not attend classes or hand in assignments. (Para. 86). On December 6,

 2021, the Fall semester interim suspension was replaced with a removal from campus and remote

 learning requirement.2 (Para. 87). The next day, John received an email that his student status had

 been reactivated. (Para. 88). However, John had missed the last 17 days of class and lectures and

 now had to catch up and arrange to take exams immediately. (Para. 87).

            The next day, on December 8, 2021, at 5:52 PM, John was informed that, “after deliberation

 and consulting the Dean,” it was decided he would have to take one of his exams the next morning

 at 11:00 AM because that was the only virtual sitting. (Para. 89). At 6:22 PM, John replied to the

 message stating the unfairness of the situation and asking if there was truly no other option, but he

 received no response. (Para. 90). In a panic, John reached out to the support dean who had talked

 to the teacher, explained his predicament, the fact that he had had no school resources or ability to

 follow classes for the past 17 days, and now had only 17 hours to prepare for his exam. (Para. 91).

 Again, John received no reply. (Para. 91). At 9:34 PM, John emailed another dean asking for

 help. (Para. 92). Once again, he received no reply. (Para. 92).

            On December 9, 2021, one hour and 14 minutes before John’s scheduled exam, his support

 dean finally replied. (Para. 93). The dean said he understood John’s reluctance and referred him

 to Assistant Vice President Koren Bakkegard. (Para. 93). John immediately emailed and called

 the Assistant Vice President. (Para. 94). Twenty minutes before the exam was to start, John

 learned from Ms. Bakkegard that he would be allowed to take his exam on a different day in

 person. (Para. 94).

            For another class, John had a paper worth fifteen percent of his final grade due the day he

 was suspended. (Para. 95). Because of his suspension, John was unable to submit the paper.



 2
     The Spring semester interim suspension was left untouched. (Para. 14).

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 (Para. 96). In trying to catch up and remedy the situation, John emailed the professor, who replied

 that he would not excuse the lateness as Brown decided the delay was not excused. (Para. 96). In

 addition, at least one of John’s lecture-based classes does not offer any way to review material

 from missed lectures other than possibly borrowing fellow classmates’ notes. (Para. 97). Because

 of this and the interim suspension, John may well fail some of his classes due to the fact that much

 of the content on the exams will be based on lectures that John was not allowed to attend or papers

 and work that were deemed late without excuse. (Para. 98).

        Throughout this ordeal, John has been advised of academic decisions at the last minute and

 without prior timely communication with him, thereby adding stress about failing classes to his

 anxiety about being wrongly accused of sexual assault. (Para. 99). The support Brown has

 repeatedly promised John simply has not been forthcoming. (Para. 100).

                                       LEGAL STANDARD

        A preliminary injunction is appropriate in order to “preserve the status quo, freezing an

 existing situation so as to permit the trial court, upon full adjudication of the case’s merits, more

 effectively to remedy discerned wrongs.” CMM Cable Rep., Inc. v. Ocean Coast Prop., Inc., 48

 F.3d 618, 620 (1st Cir. 1995). In order to obtain a preliminary injunction, the moving party bears

 the burden of showing that: (1) he will suffer irreparable injury if the injunction is not granted;

 (2) such injury outweighs any harm which granting injunctive relief would inflict on the

 nonmovant; (3) he has a likelihood of success on the merits; and (4) the public interest will not be

 adversely affected by the granting of the injunction. See Narragansett Indian Tribe v. Guilbert,

 934 F.2d 4, 5 (1st Cir. 1991); Hasbro, Inc. v. MGA Entm't Inc., 497 F. Supp. 2d 337, 340 (D.R.I.

 2007). The following addresses each of these elements in detail.




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                                           DISCUSSION

  I.         John has shown a reasonable likelihood of success in demonstrating breach of his
             contract with Brown.

         A plaintiff need not demonstrate an irrebuttable or even a particularly strong chance of

  success on the merits. “While plaintiffs seeking preliminary injunctions must demonstrate that

  they are likely to succeed on the merits, they ‘need not show a certainty of success.’” League of

  Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014); see also The Fund for

  Community Progress v. United Way of Southeastern New England, 695 A.2d 517, 521 (R.I. 1997)

  (“We do not require a certainty of success…. Instead we require only that the moving party make

  out a prima facie case”). Thus, John may meet this relatively low bar by proffering evidence that,

  if believed, would support each element of his claim. The elements of an action for breach of

  contract are the existence of a contract, breach of that contract, and damages flowing from the

  breach. See Petrarca v. Fidelity and Cas. Ins. Co., 884 A.2d 406, 410 (R.I. 2005).

         A. John’s relationship with Brown is contractual and incorporates the Student Conduct
            Procedures and Sexual Misconduct Procedure.

         Numerous jurisdictions, including Rhode Island, have concluded that the relationship

  between student and university is contractual in nature. See Gorman v. St. Raphael Academy, 853

  A.2d 28, 34 (R.I. 2004). In Mangla v. Brown University, this Court stated, “[t]he student-college

  relationship is essentially contractual in nature.” Mangla v. Brown University, 135 F.3d 80, 83

  (1st Cir. 1998). “The terms of the contract may include statements provided in student manuals

  and registration materials.” Id., citing Lyons v. Salve Regina College, 565 F.2d 200, 202 (1st Cir.

  1977) (construing College Manual and Academic Information booklet as terms of a contract

  between a student and college). Moreover, “[t]he proper standard for interpreting the contractual

  terms is that of ‘reasonable expectation – what meaning the party making the manifestation, the



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  university, should reasonably expect the other party to give it.’” Id., quoting Giles v. Howard

  University, 428 F. Supp. 603, 605 (D.D.C. 1977).

         In the fall of 2021, Brown offered John re-enrollment in the Class of 2022. (Para. 7). As

  part of his enrollment, Brown required John’s compliance with its school policies, including the

  2021-2022 Student Conduct Procedures and Sexual and Gender-Based Misconduct Complaint

  Procedure (the “Sexual Misconduct Procedure”), which policies also afford John certain rights.

  (Paras. 102-03). John accepted Brown’s offer and paid Brown tuition. (Paras. 7-8). Brown

  accepted John’s tuition payments and enrolled him in classes. (Paras. 7-8). Accordingly, John’s

  acceptance of Brown’s offer of enrollment, payment of tuition and enrollment in classes created a

  contract between him and Brown, the terms of which are set forth, among other places, in the

  Student Conduct Procedures and Sexual Misconduct Procedure.

         B. Brown breached its contract by denying John his right to be presumed not responsible,
            denying him meaningful participation in an important phase of the Title IX process,
            imposing grave interim measures without investigation or “reasonable cause,” failing
            to consider the significant and unreasonable burden a postponement of John’s
            graduation will cause, and failing to provide him adequate academic support to allow
            him to continue his studies while this matter is pending.

         As a member of the Brown community, John reasonably expected that Brown and he were

  equally bound by the Student Conduct Procedures and Sexual Misconduct Procedure. (Paras.

  102-03). Brown guaranteed John certain contractual rights by way of these policies. (Para. 103).

  In pertinent part, the Student Conduct Procedures entitle John to, inter alia, “not be presumed

  responsible of any alleged violations unless so found through the appropriate student conduct

  hearing” and to be “afforded an opportunity to offer a relevant response.” (Para. 104). The Sexual

  Misconduct Procedure also “presumes that the Respondent is not responsible for the alleged

  Prohibited conduct” and further guarantees John “meaningful opportunities to participate” in the

  Title IX process. (Para. 105). This reasonably includes any important phase of the process that


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  will affect John’s rights, such as his continuing education, access to campus, or participation in

  lacrosse. Finally, the Sexual Misconduct Procedure permits the “interim actions” of emergency

  removal from campus and suspension pending resolution of a complaint only if “there is

  reasonable cause to believe that the Prohibited Conduct is likely to continue and/or the Respondent

  poses a significant threat of harm to the health, safety, and welfare of others or the University

  community.” (Para. 106). Brown has breached all of these provisions.

          To begin, Brown failed to afford John his right to be assumed “not responsible” for the

  alleged violation against Jane because it removed him from campus and suspended him before

  performing any investigation of Jane’s complaint. (Para. 108). It did not even wait for John to

  respond to the complaint, which denied John meaningful participation in an important phase of

  this process as well as all school resources and the ability to follow classes for 17 days at a critical

  time in the semester. (Paras. 87, 113). Brown’s promises of support in that regard have proven

  empty. (Para. 100). Absent some level of investigation, Brown could not fairly determine if there

  were “reasonable cause to believe” that John would likely continue his alleged Prohibited Conduct.

  The conclusion that he was, therefore, is arbitrary because it is based solely on the accusations

  against him and takes no account of the fact that John has never attempted to contact Jane since he

  responded to her message on October 30, 2021, and has a good disciplinary record spanning nearly

  four years at Brown. (Para. 110).

          In addition to the foregoing, the Sexual Misconduct Procedure states that interim actions

  are intended to be “restorative (designed to address a Complainant’s safety and well-being and

  continued access to educational opportunities) and remedial (involving action against a

  Respondent without unreasonably burdening a Respondent.)” (Para. 107). Yet, John’s removal

  from campus and interim suspension will cause him to be unable to graduate on time or play varsity

  lacrosse, and may cost him a job opportunity this summer. (Para. 111). It therefore constitutes a

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  significant burden which is not counterbalanced by any evidence of ongoing risk to Jane or the

  Brown community and is a further breach of Brown’s contractual obligations to John.

         C. John has suffered and will continue to suffer substantial damages as a result of Brown’s
            breaches of John’s contractual rights.

         John’s initial interim suspension has already denied him 17 days of educational instruction

  at a critical time in the semester. (Para. 87). As a result, he is now scrambling to catch up and

  prepare for exams. (Para. 87). His success will now depend in part on the goodwill of classmates

  because at least one of John’s lecture-based classes at Brown does not offer any way to review

  material from missed lectures. (Para. 97). When Brown promised John support, that is not what

  he expected, and the result is likely to be a poorer showing on grades than he otherwise would

  have had. (Para. 98). Some of this is already inevitable because one paper which accounts for

  fifteen percent of John’s final grade has been deemed late without excuse, though the interim

  suspension is the cause of the lateness. (Paras. 95-96).

         In addition to the negative impact on John’s academic performance, John will no longer

  graduate on-time come May because Brown intends to reimpose the interim suspension on January

  7, 2022. (Paras. 14, 111). This fact may endanger the job offer John has accepted beginning this

  summer, and at a minimum will require John to offer the employer an explanation. (Para. 15).

  The need to explain the facts set forth in John’s verified complaint to a new employer will tarnish

  John’s reputation and potentially limit his future prospects with the employer. Moreover, the gap

  on John’s transcript will probably be noticed by other potential employers or graduate schools

  should John change his future plans.       When they inevitably inquire about the gap, John’s

  explanation could factor into employment or admissions decisions.

         Lastly, John is a member of the varsity lacrosse team at Brown. (Para. 111). Lacrosse is

  a Spring semester sport. It is a sport John has practiced for years with notable success. Because


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  of COVID, John has been unable to participate in varsity lacrosse competition for the past two

  years. He is now at the pinnacle of his lacrosse career, and if he is not reinstated for the Spring

  semester, he may end up playing only one full year of varsity lacrosse at Brown. Based on the

  foregoing, Brown’s actions have and will continue to cause John significant damages. Thus, there

  is a reasonable likelihood that John’s breach of contract claim will meet success.

  II.        John will suffer irreparable harm if injunctive relief is not granted.

         Monetary damages will not adequately compensate John for the harms he will suffer if

  injunctive relief is not granted. At stake are John’s education and right to continue, timely

  complete and obtain a Brown undergraduate degree, as well as participate in collegiate lacrosse,

  and retain a job offer he has accepted. (Para. 111). In sum, his academic, sports, and professional

  goals are at stake. The extent of these damages defy monetary quantification. This type of

  threatened reputational damage also has an emotional element. (Para. 121). This and the resulting

  loss of opportunities is “precisely the type of irreparable injury for which an injunction is

  appropriate.” The Fund for Community Progress, 695 A.2d at 523.

  III.       The balance of equities tilts to John because Brown will suffer no damage if relief is
             granted, and the public interest augurs in favor of upholding contractual rights.

         Against this clear threat of irreparable harm to John, very little is balanced on the other side

  of the scale. Sexual assault is to be adjudicated in accordance with a fair, standardized procedure,

  a procedure which – it must be said – retains value only so long as outcomes are not prejudged.

  By all accounts, the encounter between John and Jane started consensually. (Para. 32). John is

  not accused of random violence, and he never has been. (Para. 110). He has never attempted to

  contact Jane since responding to her message on October 30, 2021, even before the current no

  contact order entered. (Para. 70). That no-contact order is a less onerous alternative to removal

  from campus and interim suspension. It is already in place, and there is no evidence that it is


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  inadequate. (Para. 112). Moreover, John has a good disciplinary record spanning nearly four years

  at Brown. (Para. 110). Thus, at stake for Brown is little more than indiscriminate freedom of

  action in this disciplinary matter, a freedom it has expressly contracted away.

         To be clear, John does not seek to stop the disciplinary process. Rather, he simply seeks

  the opportunity to substantively respond to and meaningfully participate in that process, while also

  continuing to participate in campus life, as is his contractual right, and avoiding irreparable harm

  to his future aspirations in the meantime. The cost to Brown will be little.

  IV.        Injunctive relief is necessary to maintain the status quo

         This court possesses “broad discretionary power to take provisional steps restoring the

  status quo pending the conclusion of a trial.” Cohen v. Brown University, 991 F.2d 888, 906 (1st

  Cir. 1993).   The status quo is generally defined as “the last peaceable status prior to the

  controversy.” E.M.B. Associates, Inc. v. Sugarman, 372 A.2d 508, 509 (R.I. 1977) citing 11A

  Wright and Miller, Federal Practice and Procedure, § 2948. In this case, the status quo is before

  John’s November 19, 2021 interim suspension and removal from campus.

                                           CONCLUSION

         For the reasons set forth herein, Plaintiff John Stiles respectfully requests that this

  Honorable Court restrain and enjoin Defendant Brown University from denying him his

  contractual rights under the Student Conduct Procedures and Sexual Misconduct Procedure, from

  suspending him pending resolution of Jane Roe’s complaint, denying him class attendance and

  participation, and the ability to continue practicing and playing on the varsity lacrosse team until

  such time as he is found responsible for the alleged violations.




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          Dated: December 20, 2021                       The Plaintiff, John Stiles,
                                                         By his Attorney,

                                                         /s/ J. Richard Ratcliffe
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                                  CERTIFICATE OF SERVICE

         I, J. Richard Ratcliffe, certify that on December 20, 2021, this document was electronically
  filed through the Court’s CM/ECF system and is available for viewing and downloading to all
  registered counsel of record.

                                                      /s/ J. Richard Ratcliffe




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